           Case 6:17-cr-00007-SEH Document 80 Filed 06/07/17 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             HELENA DIVISION

  UNITED STATES OF AMERICA,                        CR-17-7-H-SEH


     vs.
                        Plaintiff,
                                                   ORDER
                                                                              FILED
                                                                               JUN 0 7 2017
  CHRISTIAN JESUS RUIZ,                                                     Clerk, U.S. District Court
                                                                               District Of Montana
                                                                                      Helena
                        Defendant.

        THE COURT, having reviewed Defendant Ruiz's Unopposed Motion to

Continue the Plea Agreement Deadline, the United States having no objection

thereto, and good cause appearing therefor,

        IT IS HEREBY ORDERED THAT Defendant Ruiz's Unopposed Motion to

Continue the Plea Agreement Deadline (Doc. 68) is GRANTED. The deadline for

filing a plea agreement or notice of intent to proceed to trial is reset for June 23,

2017.
                        -6
        DATED this ..2_ day of June, 2017.



                                             bo~e/tnt/
                                               United States District Court Judge




ORDER                                                                                  Pagel
